Case 2:22-cv-02122-MAA Document 1-1 Filed 03/31/22 Page 1 of 31 Page ID #:11




                                EXHIBIT A
                       GRECCO PHOTOGRAPHS
 1.




                                           https://ih1.redbubble.net/image.85800
                                           7647.6711/ssrco,classic_tee,womens,f
                                           afafa:ca443f4786,front_alt,square_pro
                                                     duct,600x600.u2.jpg

                 VA 1-431-698




                                           https://ih1.redbubble.net/image.19648
                                            93937.0737/poster,504x498,f8f8f8-
                                                   pad,600x600,f8f8f8.jpg
Case 2:22-cv-02122-MAA Document 1-1 Filed 03/31/22 Page 2 of 31 Page ID #:12




 2.




                                           https://ih1.redbubble.net/image.11647
                 VA 1-431-698                  52346.7460/aldr,x1700,front-
                                           c,60,103,1000,1000-bg,f8f8f8.u1.jpg




 3.




                 VA 1-431-698                    https://ih1.redbubble.net/image.
                                            1522664939.4412/st,small,845x845-
                                                pad,1000x1000,f8f8f8.jpg
Case 2:22-cv-02122-MAA Document 1-1 Filed 03/31/22 Page 3 of 31 Page ID #:13




 4.




                                           https://ih1.redbubble.net/image.28983
                                            93435.4154/poster,504x498,f8f8f8-
                 VA 1-431-698                      pad,600x600,f8f8f8.jpg

 5.




                 VA 1-431-698
                                           https://ih1.redbubble.net/image.21662
                                           29495.7311/ssrco,slim_fit_t_shirt,men
                                           s,101010:01c5ca27c6,front,square_pro
                                                      duct,600x600.jpg
Case 2:22-cv-02122-MAA Document 1-1 Filed 03/31/22 Page 4 of 31 Page ID #:14




                                           https://ih1.redbubble.net/image.17733
                                               53417.8094/st,small,845x845-
                                                  pad,1000x1000,f8f8f8.jpg




                                           https://ih1.redbubble.net/image.21662
                                           29495.7311/ssrco,slim_fit_t_shirt,men
                                           s,101010:01c5ca27c6,front,square_pro
                                                      duct,600x600.jpg
Case 2:22-cv-02122-MAA Document 1-1 Filed 03/31/22 Page 5 of 31 Page ID #:15




 6.




                 VA 1-736-729
                                           https://ih1.redbubble.net/image.17771
                                               27306.1818/st,small,507x507-
                                                   pad,600x600,f8f8f8.jpg
 7.




                                           https://ih1.redbubble.net/image.85802
                                           8815.7209/icr,iphone_13_soft,back,a,x
                 VA 2-030-740                  600-pad,600x600,f8f8f8.u4.jpg
Case 2:22-cv-02122-MAA Document 1-1 Filed 03/31/22 Page 6 of 31 Page ID #:16




                                           https://ih1.redbubble.net/image.24673
                                                  11718.4080/pp,504x498-
                                                   pad,600x600,f8f8f8.jpg
 8.




                                           https://ih1.redbubble.net/image.34168
                                                   6129.3427/pp,504x498-
                                                 pad,600x600,f8f8f8.u4.jpg
      VA 2-030-740
Case 2:22-cv-02122-MAA Document 1-1 Filed 03/31/22 Page 7 of 31 Page ID #:17




 9.




                                           https://ih1.redbubble.net/image.26016
                                                  38194.1304/pp,504x498-
                                                   pad,600x600,f8f8f8.jpg
                 VA 2-030-740


 10.




                 VA 2-277-528              https://ih1.redbubble.net/image.92838
                                           4492.3809/ssrco,classic_tee,mens,101
                                           010:01c5ca27c6,front_alt,square_prod
                                                       uct,600x600.jpg
Case 2:22-cv-02122-MAA Document 1-1 Filed 03/31/22 Page 8 of 31 Page ID #:18




                                           https://ih1.redbubble.net/image.92837
                                           8736.4690/ssrco,classic_tee,mens,101
                                           010:01c5ca27c6,front_alt,square_prod
                                                       uct,600x600.jpg
 11.




                 VA 2-277-528              https://ih1.redbubble.net/image.92838
                                           7691.3741/ssrco,lightweight_hoodie,m
                                           ens,101010:01c5ca27c6,front,square_p
                                                roduct,x600-bg,f8f8f8.2.jpg
Case 2:22-cv-02122-MAA Document 1-1 Filed 03/31/22 Page 9 of 31 Page ID #:19




 12.




                 VA 2-277-528              https://ih1.redbubble.net/image.92838
                                           4492.3809/ssrco,classic_tee,mens,101
                                           010:01c5ca27c6,front_alt,square_prod
                                                       uct,600x600.jpg


 13.




                 VAu 584-789
                                           https://ih1.redbubble.net/image.94828
                                                1845.8748/st,small,507x507-
                                                   pad,600x600,f8f8f8.jpg
Case 2:22-cv-02122-MAA Document 1-1 Filed 03/31/22 Page 10 of 31 Page ID #:20




  14.




                 VA 2-237-591
                                           https://ih1.redbubble.net/image.76352
                                           7883.8264/ssrco,slim_fit_t_shirt,wome
                                           ns,fafafa:ca443f4786,front,square_pro
                                                     duct,600x600.u2.jpg
  15.




                 VA 2-237-591

                                            https://ih1.redbubble.net/image.26120
                                            92711.0062/ur,apron_realistic_flatlay,
                                                   square,1000x1000.u1.jpg
Case 2:22-cv-02122-MAA Document 1-1 Filed 03/31/22 Page 11 of 31 Page ID #:21




                                           https://ih1.redbubble.net/image.77841
                                           8574.3023/ssrco,slim_fit_t_shirt,wome
                                           ns,ff4c00:b001c7b98d,front,square_pr
                                                      oduct,600x600.jpg




                                             https://ih1.redbubble.net/image.76270
                                            8420.4475/ssrco,mens_premium_t_shi
                                            rt,mens,fafafa:ca443f4786,front,square
                                                _product,x600-bg,f8f8f8.1u3.jpg
Case 2:22-cv-02122-MAA Document 1-1 Filed 03/31/22 Page 12 of 31 Page ID #:22




  16.




                 VA 2-030-741


                                            https://ih1.redbubble.net/image.42386
                                            7980.7243/icr,iphone_13_soft,back,a,x
                                                600-pad,600x600,f8f8f8.u2.jpg
  17.




                 VA 1-232-596
                                            https://ih1.redbubble.net/image.28681
                                                14136.8049/st,small,845x845-
                                                 pad,1000x1000,f8f8f8.u1.jpg
Case 2:22-cv-02122-MAA Document 1-1 Filed 03/31/22 Page 13 of 31 Page ID #:23




                                            https://ih1.redbubble.net/image.28674
                                                62888.1558/tst,small,845x845-
                                                 pad,1000x1000,f8f8f8.u1.jpg




                                            https://ih1.redbubble.net/image.49341
                                             8256.1768/papergc,300x,w,f8f8f8-
                                                  pad,600x600,f8f8f8.u2.jpg
Case 2:22-cv-02122-MAA Document 1-1 Filed 03/31/22 Page 14 of 31 Page ID #:24




                                            https://ih1.redbubble.net/image.49851
                                                 1398.3577/st,small,507x507-
                                                  pad,600x600,f8f8f8.u6.jpg




                                            https://ih1.redbubble.net/image.17190
                                              4481.3525/poster,504x498,f8f8f8-
                                                  pad,600x600,f8f8f8.u3.jpg
Case 2:22-cv-02122-MAA Document 1-1 Filed 03/31/22 Page 15 of 31 Page ID #:25




                                            https://ih1.redbubble.net/image.53595
                                              9209.2646/ctkr,x1862,front,black-
                                             c,324,409,600,600-bg,f8f8f8.u1.jpg
  18.




                                            https://ih1.redbubble.net/image.12396
                                                64555.9026/st,small,507x507-
                 VA 2-030-741                       pad,600x600,f8f8f8.jpg
Case 2:22-cv-02122-MAA Document 1-1 Filed 03/31/22 Page 16 of 31 Page ID #:26




                                            https://ih1.redbubble.net/image.46720
                                             1017.4006/throwpillow,small,600x-
                                               bg,f8f8f8-c,0,120,600,600.u7.jpg




                                            https://ih0.redbubble.net/image.26925
                                               3068.7418/flat,500x,075,f.u4.jpg
Case 2:22-cv-02122-MAA Document 1-1 Filed 03/31/22 Page 17 of 31 Page ID #:27




  19.




                                            https://ih1.redbubble.net/image.18058
                                            2263.5500/ssrco,slim_fit_t_shirt,mens,
                                            e0e1dd:064437a66d,front,square_prod
                                                        uct,600x600.jpg

                 VA 2-063-319




                                            https://ih1.redbubble.net/image.19198
                                            6097.6463/ssrco,slim_fit_t_shirt,mens,
                                            e0e1dd:064437a66d,front,square_prod
                                                        uct,600x600.jpg
Case 2:22-cv-02122-MAA Document 1-1 Filed 03/31/22 Page 18 of 31 Page ID #:28




  20.




                 VA 1-431-698




                                            https://ih1.redbubble.net/image.86706
                                               2893.3136/flat,500x,075,f.u9.jpg




                                            https://ih1.redbubble.net/image.19850
                                            60589.0849/ssrco,classic_tee,mens,33
                                            281f:5b604c86ce,front_alt,square_pro
                                                       duct,600x600.jpg
Case 2:22-cv-02122-MAA Document 1-1 Filed 03/31/22 Page 19 of 31 Page ID #:29




  21.




                 VA 1-431-698

                                            https://ih1.redbubble.net/image.29374
                                            49339.5834/icr,iphone_13_soft,back,a,
                                                x600-pad,600x600,f8f8f8.jpg




                                            https://ih1.redbubble.net/image.29426
                                            46728.5308/mp,840x830,matte,f8f8f8,
                                                  t-pad,1000x1000,f8f8f8.jpg
Case 2:22-cv-02122-MAA Document 1-1 Filed 03/31/22 Page 20 of 31 Page ID #:30




                                            https://ih1.redbubble.net/image.29375
                                            02056.7228/mwo,x1000,ipad_2_skin-
                                                   pad,1000x1000,f8f8f8.jpg
Case 2:22-cv-02122-MAA Document 1-1 Filed 03/31/22 Page 21 of 31 Page ID #:31




                                            https://ih1.redbubble.net/image.25101
                                            40929.8077/mwo,x1000,ipad_2_skin-
                                                   pad,1000x1000,f8f8f8.jpg




                                            https://ih1.redbubble.net/image.23573
                                                   21226.1015/pp,504x498-
                                                    pad,600x600,f8f8f8.jpg




                                            https://ih1.redbubble.net/image.84405
                                                    4602.1569/pp,504x498-
                                                    pad,600x600,f8f8f8.jpg
Case 2:22-cv-02122-MAA Document 1-1 Filed 03/31/22 Page 22 of 31 Page ID #:32




                                            https://ih1.redbubble.net/image.26961
                                                   21310.9162/pp,504x498-
                                                    pad,600x600,f8f8f8.jpg
Case 2:22-cv-02122-MAA Document 1-1 Filed 03/31/22 Page 23 of 31 Page ID #:33




                                            https://ih1.redbubble.net/image.23573
                                                   21226.1015/pp,504x498-
                                                    pad,600x600,f8f8f8.jpg




                                            https://ih1.redbubble.net/image.20468
                                                 7207.1211/st,small,507x507-
                                                  pad,600x600,f8f8f8.u5.jpg

  22.




                                           https://ih1.redbubble.net/image.19634
                                           4560.1951/ssrco,classic_tee,womens,e
                                           5d6c5:f62bbf65ee,front_alt,square_pro
                 VA 2-030-740                        duct,600x600.u2.jpg
Case 2:22-cv-02122-MAA Document 1-1 Filed 03/31/22 Page 24 of 31 Page ID #:34




                                            https://ih1.redbubble.net/image.19634
                                                 4572.1951/st,small,507x507-
                                                  pad,600x600,f8f8f8.u2.jpg




                                            https://ih1.redbubble.net/image.19842
                                                   70038.8223/pp,504x498-
                                                    pad,600x600,f8f8f8.jpg
Case 2:22-cv-02122-MAA Document 1-1 Filed 03/31/22 Page 25 of 31 Page ID #:35




  23.




                 VA 1-431-698
                                            https://ih1.redbubble.net/image.28343
                                           75214.6269/ssrco,classic_tee,womens,
                                           fafafa:ca443f4786,front_alt,square_pro
                                                       duct,600x600.jpg




                                            https://ih1.redbubble.net/image.35839
                                             1933.6285/papergc,300x,w,f8f8f8-
                                                  pad,600x600,f8f8f8.u3.jpg
Case 2:22-cv-02122-MAA Document 1-1 Filed 03/31/22 Page 26 of 31 Page ID #:36




  24.




                                            https://ih1.redbubble.net/image.36917
                                                    0317.1565/pp,504x498-
                                                    pad,600x600,f8f8f8.jpg


                 VA 1-431-698




                                            https://ih1.redbubble.net/image.10931
                                                   06116.3064/pp,504x498-
                                                    pad,600x600,f8f8f8.jpg
Case 2:22-cv-02122-MAA Document 1-1 Filed 03/31/22 Page 27 of 31 Page ID #:37




                                            https://ih1.redbubble.net/image.22594
                                                   98870.1532/pp,504x498-
                                                    pad,600x600,f8f8f8.jpg




                                            https://ih1.redbubble.net/image.28738
                                                   32051.2263/pp,504x498-
                                                    pad,600x600,f8f8f8.jpg
Case 2:22-cv-02122-MAA Document 1-1 Filed 03/31/22 Page 28 of 31 Page ID #:38




  25.




                 VA 1-418-417                      https://ih1.redbubble.net/image.
                                            2867463013.1569/ssrco,classic_tee,me
                                            ns,fafafa:ca443f4786,front_alt,square_
                                                    product,600x600.u1.jpg




                                            https://ih1.redbubble.net/image.53595
                                              0458.2394/gptr,1265x,front,black-
                                             c,330,402,600,600-bg,f8f8f8.u3.jpg
Case 2:22-cv-02122-MAA Document 1-1 Filed 03/31/22 Page 29 of 31 Page ID #:39




  26.




                                            https://ih1.redbubble.net/image.74158
                                           6945.6422/ssrco,lightweight_sweatshir
                 VA 1-232-598              t,mens,black_lightweight_raglan_swea
                                               tshirt,front,square_product,x600-
                                                         bg,f8f8f8.u1.jpg


  27.




                                            https://ih1.redbubble.net/image.63204
                                              3619.5290/poster,504x498,f8f8f8-
                 VA 2-063-319                       pad,600x600,f8f8f8.jpg
Case 2:22-cv-02122-MAA Document 1-1 Filed 03/31/22 Page 30 of 31 Page ID #:40




  28.




                                            https://ih1.redbubble.net/image.86857
                                                 6430.9058/st,small,507x507-
                                                    pad,600x600,f8f8f8.jpg




                 VA 2-063-319




                                            https://ih1.redbubble.net/image.86885
                                             5613.5562/mug,travel,x1000,center-
                                                 pad,1000x1000,f8f8f8.u3.jpg
Case 2:22-cv-02122-MAA Document 1-1 Filed 03/31/22 Page 31 of 31 Page ID #:41




  29.




                                            https://ih1.redbubble.net/image.29991
                                            54644.8485/icr,iphone_13_soft,back,a,
                                                x600-pad,600x600,f8f8f8.jpg




                 VA 1-736-729
